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6 UNITED STATES BANKRUPTCY COURT
7 DISTRICT OF NEVADA
8 || IN RE: CASENO.  BK-N-06-50037-GWZ
3 || COOPER & SONS, INC., CHAPTER 7
10 Debtor. DECLARATION OF JACK COOPER
IN SUPPORT OF MOTION FOR
11 ORDER AUTHORIZING THE SALE
OF REAL PROPERTY FREE AND
12 CLEAR OF LIENS AND
ENCUMBRANCES AND PAYMENT
13 OF SALE COMMISSION
14
Hearing Date: 10/16/07
15 Hearing Time: 10:00 a.m.
Time Req'd: 10 minutes
16 f Set By: D. Lindersmith
17?
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DECLARATION OF JACK COOPER
Jack Cooper, under penalty of perjury of the laws of the United States, declares:

I. Lam a resident of Ely, Nevada where I have lived all my life. I am 62 years old.
I live at 1375 Avenue L, Ely. I have personal knowledge of the matters set forth herein.

2, My father’s name was William Cooper, Sr. I have two brothers, Dan Cooper of

Reno, Nevada and William Cooper, Jr. of Page, Arizona.

3. My father was a contractor in White Pine County and did business as a sole
proprietor from the 1960’s onward. My brother, Dan, and J worked for our father. The business

was known variously as Cooper & Sons Construction, Cooper & Sons Drilling and William

Cooper & Sons.

4, In 1980, my father incorporated the business as Cooper & Sons, Inc. The original

shareholders of Cooper & Sons, Inc. were my father and my mother.

5. In about 1983, a farmer in Eureka named Donald Hull inquired about having a
well drilled on property he owned there in Eureka. Cooper & Sons, Inc. was in the business of

drilling wells and had a state contractors license for drilling wells, License No. 00191 12. Erecall

that Hull proposed to pay the cost of having the well drilfed by transferring an adjacent parcel of

land. That adjacent parcel of land is known as 573 Selim Way in Bureka consisting of

approximately 2.4 acres (“Selim Way”). The well was drilled by my brother Dan and other

employees of Cooper & Sons, Inc. Hull then executed a Grant, Bargain And Sale Deed

transferring title to Selim Way to “William Cooper & Sons, Inc.”

6. The well was drilled utilizing equipment, fuel and labor of Cooper & Sons, Inc.

7. The subject property is vacant, The only improvement that T know of on the

property is a well that was drilled in about the same time period as the weil for Don Hull.

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8. To the best of my knowledge, there has never been a corporation known as

“William Cooper & Sons, Inc.”

I declare that the foregoing is true and correct and that this declaration was executed on

J bog

A OOPER ao

August 2%, 2007 at Ely, Nevada.

